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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA


               V.
                                        Crim. No. 17-232(EGS)
 MICHAEL T. FLYNN,

                          Defendant




                            JOINT STATUS REPORT


        COMES NOW,the United States of America, by and through Special Counsel

Robert S. Mueller, III, and the defendant through his counsel, and file this joint

status report to provide the Court with the current status of this matter.

        1.   On December 18, 2018, the Court held a sentencing hearing in this

matter. The defendant requested a continuance at that hearing,"to allow him to

complete [his] cooperation" in a related case charged in the Eastern District of

Virginia("EDVA"). See Dec. 18, 2018 Sentencing Hearing Transcript, at 46-47. The

Court granted the defendant's request and ordered the parties to file a status report

by no later than March 13, 2019.

        2.   At this time, the defendant continues to request a continuance since

the case in EDVA has not been resolved, and there may be additional cooperation

for the defendant to provide pursuant to the plea agreement in this matter. A trial

in the EDVA case is scheduled to begin on July 16, 2019. Accordingly, the

defendant respectfully requests that the parties pi'ovide a status report within 90

days.
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      3.     The government takes no position on the defendant's request for a

continuance. However, while the defendant remains in a position to cooperate with

law enforcement authorities, and could testify in the EDVA case should it proceed to

trial, in the government's view his cooperation is otherwise complete.




                                           Respectfully submitted,




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Special Counsel                            STEPHEN P. ANTHONY
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